TRULINCS 20126057 - MORGAN," RONNIE - Unit: BUT-F-A


FROM: 20126057
TO: BUT/Warden FCl-1
SUBJECT: ***Request to Staff*** MORGAN, RONNIE, Reg# 20126057, BUT-F-A
DATE: 09/18/2021 12:41 :32 PM

To: Warden Ramos
Inmate Work Assignment: Kitchen

I wish to file this official electronic request for compassionate release. As you can tell by my medical records I have a high
vulnerability of severe illness and death if the· Covid:19 virus was to be contracted again.
Please and Thank You




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